                               Case 18-10018-KKS       Doc 90      Filed 05/18/18        Page 1 of 1
                                     IN THE UNITED BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                           GAINESVILLE DIVISION
IN RE:
PRIORIA ROBOTICS, INC.                                                       CASE NO. 18-10018GVL1
                                                                             CHAPTER 7
      Debtor.
______________________________/

          ORDER APPROVING TRUSTEE’S APPLICATION TO EMPLOY AND APPOINT
        COUNSEL UNDER GENERAL RETAINER NUNC PRO TUNC TO 4/27/18 (Doc. #74)

          THIS CAUSE CAME BEFORE THE COURT, upon the Trustee’s Application to Employ and

Appoint Counsel Under General Retainer Nunc Pro Tunc to 4/27/18 (Doc. #74), pursuant to 11 U.S.C,

Sections 327 and 328(a), it appearing that the services of an attorney are warranted and will be required to

fully administer this case, and it further appearing that THERESA M. BENDER, P.A., is qualified to

represent the trustee in this matter, it is:

ORDERED:

          1.        The Application is APPROVED.

          2.        The Trustee is authorized to employ the above named entity as attorney for the trustee,

pursuant to 11 U.S.C, Sections 327 and 328(a), to perform all such legal services as may be necessary in

carrying out the trustee's duties in this case. The Trustee shall not hereafter disburse any monies or

transfer any property to the above attorney(s) in satisfaction of legal fees incurred during this case except

upon further order of this Court. Upon completion of his services, the attorney shall apply to the court

for an award of attorney's fees.

                                 18th day of __________________
          DONE AND ORDERED this _____          May                                                       18
                                                                                                    , 20_______.
                                                    /s/ Karen K. Specie
                                                    _____________________________
                                                    KAREN K. SPECIE.
                                                    United States Bankruptcy Judge
Trustee is directed to serve a copy of this order on interested parties and file a certificate of service within three (3) days of
entry of the order.
Prepared By:
THERESA M. BENDER
Copies to Interested Parties
